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United States Courts

Southern OS of Texas
FIL
UNITED STATES DISTRICT COURT 02 2019
SOUTHERN DISTRICT OF TEXAS APR
HOUSTON DIVISION
David J. Bradley, Clerk of Court
UNITED STATES OF AMERICA §
§
vs. §
§
J9CR 228
DEMETRIUS DELAAN WHITE § Case NO.
aka D and DEONTE DANQUISE §
BAILEY-ROACH aka SHEIN, §
§
Defendants. §
INDICTMENT
THE GRAND JURY CHARGES THAT:
INTRODUCTION

At all times material to this Indictment:
1. The term “minor” is defined, pursuant to 18 U.S.C. § 2256(1), as “any person
under the age of eighteen years.”
2. The term “child pornography,” for purposes of this Indictment, is defined,
pursuant to 18 U.S.C. § 2256(8)(A), as
any visual depiction, including any photograph, film, video, picture,
or computer or computer-generated image or picture, whether made

or produced by electronic, mechanical, or other means, of sexually
explicit conduct, where —

(A) _ the production of such visual depiction involves the use of a minor
engaged in sexually explicit conduct.

3. The term “sexually explicit conduct” is defined, pursuant to 18 U.S.C. §
2256(2), as any

actual or simulated —
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(i) sexual intercourse, including genital [to] genital, oral [to]
genital, anal [to] genital, or oral [to] anal, whether between
persons of the same or opposite sex; [or]

(ii) bestiality; [or]
(iii) masturbation; [or]
(iv) sadistic or masochistic abuse; or

(v) [the] lascivious exhibition of the genitals or pubic area of any
person.

4, The term “computer” is defined, pursuant to 18 U.S.C. §§ 2256(6) and
1030(e)(1) as any

electronic, magnetic, optical, electrochemical, or other high speed
data processing device performing logical, arithmetic, or storage
functions, and includes any data storage facility or communications
facility directly related to or operating in conjunction with such
device, but such term does not include an automated typewriter or
typesetter, a portable hand held calculator or other similar device.

5. The term “producing” is defined, pursuant to 18 U.S.C. § 2256(3), as
producing, directing, - manufacturing, issuing, publishing or
advertising, and includes downloading images from another source,
buy using materials, including a computer or parts thereof.

6. The term “visual depiction” is defined, pursuant to 18 U.S.C. § 2256(5) as

including, but is not limited to, any
undeveloped film and videotape, and data stored on computer disk or

by electronic means which is capable of conversion into a visual
image.
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COUNT ONE
Coercion and Enticement of a Minor

On or about November 6, 2017, within the Southern District of Texas, and
elsewhere, the Defendants,

DEMETRIUS DELAAN WHITE aka D and
DEONTE DANQUISE BAILEY-ROACH aka SHEIN,

did use any facility of interstate and foreign commerce, to knowingly persuade, induce,
entice and coerce, and to knowingly attempt to persuade, induce, entice and coerce Minor
Victim 1 (““MV1”), an individual who had not attained the age of 18 years, to engage in
prostitution and sexual activity for which the Defendants could be charged with a criminal
offense,

in violation of 18 U.S.C. §§ 2422(b) & (2).

COUNT TWO
Conspiracy to Produce Child Pornography

On or about November 6, 2017, within the Southern District of Texas, and
elsewhere,

DEMETRIUS DELAAN WHITE aka D and
DEONTE DANQUISE BAILEY-ROACH aka SHEIN,

the Defendants herein, did combine, conspire, confederate and agree together to employ,
use, persuade, induce, entice and coerce a minor, namely MV1, to engage in sexually
explicit conduct for the purpose of producing any visual depiction of such conduct, using
materials that have been mailed, shipped, and transported in and affecting interstate and

foreign commerce by any means, including by computer,

in violation of 18 U.S.C. §§ 2251(a) & (e) and 2.

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‘COUNT THREE
Production of Child Pornography

On or about November 6, 2017, within the Southern District of Texas and

elsewhere,

DEMETRIUS DELAAN WHITE aka D and
DEONTE DANQUISE BAILEY-ROACH aka SHEIN,

Defendants herein, did employ, use, persuade, induce, entice and coerce and attempt to
employ, use, persuade, induce, entice and coerce a minor, MV1, to engage in sexually
explicit conduct for the purpose of producing any visual depiction of such conduct, using
materials that have been mailed, shipped, and transported in and affecting interstate and
foreign commerce by any means, including by computer,
in violation of 18 U.S.C. §§ 2251(a) and 2.
NOTICE OF FORFEITURE
18 U.S.C. § 2253(a)
Pursuant to 18 U.S.C. § 2253(a), the United States gives the Defendants

DEMETRIUS DELAAN WHITE aka D and
DEONTE DANQUISE BAILEY-ROACH aka SHEIN,

notice that in the event of conviction for the offenses charged in Counts One through Three
of the Indictment, the following is subject to forfeiture:
(1) all visual depictions described in 18 U.S.C. § 2251, or all books,
magazines, periodicals, films, videotapes, or other matter which contain
any such visual depictions, which were produced, transported, mailed,

shipped or received in violation of 18 U.S.C. Chp. 110;
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(2) all property, real or personal, constituting or traceable to gross profits or
other proceeds obtained from such offenses; and
(3) all property, real or personal, used or intended to be used to commit or to

promote the commission of such offenses, or all property traceable to such

property. .

The property subject to forfeiture includes, but is not limited to, the following:

A black Samsung Galaxy S8 cellular phone, IMEI 355987081390733
A black Apple iPhone, IMEI 359402083718507

A True Bill:
A aN vi)
U ORIGINAL SIGNATURE ON FILE

 

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Grand Qury Foreperson

RYAN K. PATRICK
United States Attorney

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Eun Kate Suh
Assistant United States Attorney
